
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1293

                             LEILA FRANCES-COLON, ET AL.,

                               Plaintiffs - Appellants,

                                          v.

                             DR. EFRAIN RAMIREZ, ET AL.,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                           and DiClerico,* District Judge.
                                           ______________

                                _____________________

               Kevin  G. Little, with whom  Law Offices David  Efr n was on
               ________________             ________________________
          brief for appellants.
               Jos  Angel Rey for appellees.
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                                 ____________________

                                  February 24, 1997
                                 ____________________



                              
          ____________________

          *  Of the District of New Hampshire, sitting by designation.














                    TORRUELLA, Chief Judge.    Plaintiffs-appellants  Leila
                    TORRUELLA, Chief Judge.  
                               ___________

          Frances-Col n and  Juan Enrique  Rodr guez brought  a malpractice

          action  on  behalf  of  their minor  son  Eric  Rodr guez-Frances

          ("Eric")  against  two  doctors,  a municipal  hospital  and  the

          municipality  of San Juan, on both federal and state law grounds.

          They alleged  that the  doctors' mishandling of  Eric's delivery1

          amounted to a violation of Eric's substantive due process rights,

          actionable under 42 U.S.C.    1983, and that the  defendants were

          liable for negligence under  Puerto Rico tort law.   The district

          court  granted  defendants' summary  judgment  motion  as to  all

          counts, for the  following reasons: (1) the  plaintiffs failed to

          identify  a protected  substantive  due process  liberty interest

          giving  rise  to  their  federal  civil  rights  claim;  (2)  the

          defendants'  actions  were  not  state conduct  that  shocks  the

          conscience  for the  purposes of  sustaining their  federal civil

          rights claim; (3) the defendant doctors are immune from liability

          under   Puerto  Rico  law;    (4)  the  tort  claim  against  the

          municipality was time-barred under Puerto Rico law.  See Col n v.
                                                               ___ _____

          Ram rez,  913 F. Supp. 112 (D.P.R. 1996).  Plaintiffs appeal from
          _______

          the grant of summary judgment.



                              
          ____________________

          1   The  essential mistake  alleged was  the doctor's  failure to
          perform  a  caesarian  section.     Plaintiffs  allege  that  the
          defendant doctors acted  with reckless  disregard and  deliberate
          indifference by  delivering Eric  vaginally, using forceps,  even
          though his mother  told the  doctors that she  could not  deliver
          vaginally.   Eric was born  in poor physical  condition, suffered
          severe   perinatal   asphyxia,   and   has   suffered   permanent
          disabilities. 

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                     Having reviewed the record  and the parties' briefs on

          appeal, we are satisfied with the reasoning of the decision below

          and affirm the judgment  for substantially the reasons elucidated

          in the  district court opinion.   Cf. Lawton  v. State Mut.  Life
                                            ___ ______     ________________

          Assurance Co., 101  F.3d 218, 220 (1st Cir. 1996)  ("We have long
          _____________

          proclaimed  that when  a  lower court  produces a  comprehensive,

          well-reasoned decision,  an appellate  court should refrain  from

          writing at  length to no  other end  than to hear  its own  words

          resonate.")  We need only note the following.

                          I.  The Federal Civil Rights Claim
                          I.  The Federal Civil Rights Claim
                              ______________________________

                    The  district  court  correctly  held  that plaintiffs-

          appellants  failed to  establish  a violation  of  constitutional

          rights actionable under section 1983.  Appellants claim on appeal

          that, in making this determination, the district court improperly

          resolved  an issue of fact in favor of defendants by holding that

          the  doctors  failed  to   act  with  the  requisite   degree  of

          culpability  to sustain a section 1983  claim.  See Col n, 913 F.
                                                          ___ _____

          Supp.  at 119.  Appellants urge us to consider certain affidavits

          they produced in support  of the view that the  defendant doctors

          were reckless, and not merely negligent.  First, it is  not clear

          that the  district court's  statement that plaintiffs  "failed to

          show  that   defendants  acted  with  the   requisite  degree  of

          culpability" means that the  district court explicitly found that

          defendants were not reckless.  More importantly, there is no need

          to arrive at a  factual conclusion regarding whether  the doctors

          were negligent or something  more than negligent, because, either


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          way, the plaintiffs fail to state a cause of action under section

          1983.   As the district  court opinion explains,  plaintiffs must

          fail  on their civil rights claim because they do not demonstrate

          either of the following:  that there was an interest protected by

          the due process clause  at stake, or that there  was governmental

          conduct  that  "shocks  the conscience."    See  id.   at  116-18
                                                      ___  ___

          (applying Pittsley v. Warish, 927 F.2d 3, 6 (1st Cir. 1991)).
                    ________    ______

                    It is surprising,  in light of clear Supreme  Court and

          First Circuit precedent, that  appellants would consider it worth

          their while to try their luck, or, rather, waste time and energy,

          with what is  essentially a malpractice claim  clothed in section

          1983, civil rights,  language.   This is  plainly not a situation

          in which the  state "takes  a person into  custody and holds  him

          there  against   his  will,"   thereby  implicating  a   possible

          constitutional  due process  interest in  adequate medical  care.

          DeShaney v. Winnebago  County Dept.  of Social  Servs., 489  U.S.
          ________    __________________________________________

          189,   199-200  (1989).    To  avoid  future  waste  of  judicial

          resources, we wish to underscore  the decisive legal principle in

          this  case.    A  substantive  due  process  interest  in "bodily

          integrity" or  "adequate medical  care" cannot support a personal

          injury  claim  under  section  1983  against  the  provider of  a

          governmental  service unless:  (a) the  government has  taken the

          claimant  into custody or  otherwise coerced the  claimant into a

          situation where  he cannot  attend to  his  own well-being,  see,
                                                                       ___

          e.g., Monahan v. Dorchester Counseling Ctr.,  Inc., 961 F.2d 987,
          ____  _______    _________________________________

          990-93 (1st  Cir.  1992) (no  due  process claim  where  claimant


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          voluntarily entered mental  institution) (applying DeShaney);  or
                                                             ________

          (b) the  government employee, in  the rare and  exceptional case,

          affirmatively acts to increase the threat of harm to the claimant

          or   affirmatively   prevents  the   individual   from  receiving

          assistance, see Dwares v. City  of New York, 985 F.2d 94,  96 (2d
                      ___ ______    _________________

          Cir. 1993) (due process  implicated where complaint under section

          1983  alleged  that police  assured  skin-heads  that they  could

          attack protestors with impunity, thereby affirmatively increasing

          threat of harm to protestors) (distinguishing DeShaney);  Ross v.
                                                        ________    ____

          United  States, 910  F.2d  1422,  1429-34  (7th Cir.  1990)  (due
          ______________

          process  interest  in  life  implicated  where  county  officials

          prevented  city officials  from  rescuing drowning  boy,  thereby

          affirmatively   restricting   source   of  aid)   (distinguishing

          DeShaney).
          ________

                    A proximate  causal link  between a  government agent's

          actions and a  personal injury does not, in itself,  bring a case

          out  of   the  realm  of   tort  law  and  into   the  domain  of

          constitutional due process.   Daniels v. Williams,  474 U.S. 327,
                                        _______    ________

          332 (1986).  Appellant's counsel would have done well to consider

          more carefully the  cases it cites  for support in  its brief  --

          such  as the following passage from Estate of Gilmore v. Buckley,
                                              _________________    _______

          787  F.2d  714, 722  (1st Cir.  1986)  (holding failure  of state

          employees  to protect victim  from murderous attack  by inmate on

          furlough not actionable under section 1983):2


                              
          ____________________

          2  See Brief for Appellants at 17.
             ___

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                    Enormous  economic consequences  could follow
                    from the reading  of the fourteenth amendment
                    that plaintiff here urges.   Firemen who have
                    been alerted to a  victim's peril but fail to
                    take  effective action;  municipal ambulances
                    which,  when called, arrive  late; and myriad
                    other  errors by state officials in providing
                    protective  services, could  all be  found to
                    violate  the  Constitution.    It  would seem
                    appropriate   that   the  citizenry,   acting
                    through state legislatures and  state courts,
                    should determine  how far it wishes  to go in
                    reimbursing claims of this  type.  We can see
                    no  justification  for   rewriting  the   due
                    process clause of the federal Constitution so
                    as to  construct a basis for  relief that can
                    be more flexibly  provided elsewhere, if that
                    is deemed advisable.

                   II.  Defendants' Immunity under Puerto Rico Law
                   II.  Defendants' Immunity under Puerto Rico Law
                        __________________________________________

                    It is undisputed that the defendant doctors were acting

          as government employees when they were attending to Eric's birth.

          The district court correctly held  that the doctors are protected

          under  the  immunity  for  government  health care  professionals

          provided by  P.R. Laws Ann. tit.  26,   4105 (1989).   On appeal,

          appellants  repeat  their  argument  that  the  doctors'  alleged

          recklessness brings them  outside of this immunity provision.  We

          note  that the Puerto  Rico Supreme  Court's decision  in V squez
                                                                    _______

          Negr n v.  E.L.A., 113  D.P.R. 148,  151  (1982), interprets  the
          ______     ______

          immunity  provision  broadly,  adding  further  strength  to  the

          district  court's holding  that the  sole inquiry  required under

          Puerto  Rico  law  in  determining whether  immunity  applies  is

          whether the health care professional was acting as an employee of

          the government at the time of the events giving rise to the suit.

                    This much said, we allow the district court  opinion to

          speak for itself.

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                    Affirmed.
                    Affirmed
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